     CASE 0:10-cr-00339-PJS-ECW        Doc. 261    Filed 06/09/11   Page 1 of 6




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                              Crim. No. 10-339 (PJS/JJK)

                    Plaintiff,

v.                                          REPORT AND RECOMMENDATION

(6) Cruz Rosales,

                    Defendant.


Jeffrey S. Paulsen, Esq., Assistant United States Attorney, counsel for Plaintiff.

Michael C. Hager, Esq., Hager Law Office, counsel for Defendant Rosales.


JEFFREY J. KEYES, United States Magistrate Judge

      This matter is before the Court on Defendant Cruz Rosales’s Motion to

Sever Defendant Rosales (Doc. No. 199). The matter was referred to the

undersigned for a Report and Recommendation pursuant to 28 U.S.C. § 636 and

D. Minn. Loc. R. 72.1. For the reasons set forth below, this Court recommends

that Defendant’s motion be denied.

                                 BACKGROUND

      Defendant Rosales and six Co-Defendants were indicted on charges of

conspiracy to distribute methamphetamine, cocaine, and marijuana in violation of

21 U.S.C. §§ 846 and 841(b)(1)(A). (Doc. Nos. 7, 62.) Defendant Rosales was

also charged with one count of distribution of methamphetamine in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(B). (Id.)
     CASE 0:10-cr-00339-PJS-ECW        Doc. 261    Filed 06/09/11   Page 2 of 6




                                    ANALYSIS

      Defendant Rosales has filed a motion for severance requesting that he

receive a separate trial. (Doc. No. 199.) There, he states in a boilerplate

fashion: (1) that he is not properly joined under Rule 8(b) of the Federal Rules of

Criminal Procedure; (2) that a joined trial would confuse the jury as to the alleged

acts of each Defendant; (3) that in a joint trial evidence may be introduced by

each Defendant that would be inadmissible against other Defendants in a

separate trial; (4) that joinder jeopardizes his Fifth Amendment rights against

self-incrimination; (5) that his alleged involvement was substantially less than the

Co-Defendants’ and his subjection to trial and sentencing as part of these

proceedings exaggerates his culpability; (6) that his alleged involvement with co-

defendant Perez was a separate alleged conspiracy from the conspiracy alleged

in the Superseding Indictment; and (7) that he has been included in this case

later than the other Co-Defendants and if accorded a similar amount of time to

prepare, would be tried several months after the scheduled trial date. (Id.)

      The Government opposes the motion, noting a strong policy interest in

joint trials for co-conspirators and the high standard under which severance is

granted. (Doc. No. 222.) The Government further contends that absent a

particularized factual showing to the contrary, limiting instructions can cure any

prejudicial spillover effects of a joint trial. (Id.) The Government also notes that

sentencing considerations have nothing to do with the issue of severance, and

that if Defendant is convicted, he will have every opportunity at sentencing to

                                          2
     CASE 0:10-cr-00339-PJS-ECW         Doc. 261    Filed 06/09/11   Page 3 of 6




argue for a sentence that is commensurate with his culpability. (Id.) Finally, the

Government contends that Defendant has not proffered any facts in support of

his conclusory allegation that his alleged involvement with co-defendant Perez

was a separate alleged conspiracy from the conspiracy alleged in the

Superseding Indictment. (Id.) To that effect, the Government notes that both

Defendants were directly involved in the conspiracy alleged in the Superseding

Indictment and that the Government will demonstrate that Defendant Rosales

and his Co-Defendant Perez were drug and money couriers for the Noe Alamos-

Pantoja drug trafficking organization. (Id.) In sum, the Government argues that

Defendant Rosales has not made the showing necessary for severance. This

Court agrees.

      Two or more defendants may be charged in the same indictment if they

are alleged to have participated in the same transaction or series of incidents

constituting an offense or offenses. Fed. R. Crim. P. 8(b). “There is a preference

in the federal system for joint trials of defendants who are indicted together . . .

[because] they promote efficiency and serve the interests of justice by avoiding

the scandal and inequality of inconsistent verdicts.” Zafiro v. United States, 506

U.S. 534, 537 (1993) (internal quotation marks and citations omitted). Persons

charged with conspiracy should generally be tried together, and it will rarely be

improper to join co-conspirators in a single trial. United States v. Kindle, 925

F.2d 272, 277 (8th Cir. 1991); United States v. Stephenson, 924 F.2d 753, 761

(8th Cir. 1991), cert. denied, 502 U.S. 813 (1991).

                                          3
     CASE 0:10-cr-00339-PJS-ECW         Doc. 261    Filed 06/09/11   Page 4 of 6




      The propriety of joinder under Rule 8 is a question of law, though relief

from a legally permissible joinder may be obtained as an exercise of discretion

on motion for severance due to prejudice, pursuant to Fed. R. Crim. P. 14.

United States v. Patterson, 140 F.3d 767, 774 (8th Cir. 1998). Availability of the

Rule 14 remedy permits broad construction of Rule 8 in favor of initial joinder.

United States v. Rodgers, 732 F.2d 625, 629 (8th Cir. 1984). But a court should

“grant a severance under Rule 14 only if there is a serious risk that a joint trial

would compromise a specific trial right of one of the defendants, or prevent the

jury from making a reliable judgment about guilt or innocence.” Zafiro, 506 U.S.

at 539.

      Here, Defendant Rosales and six Co-Defendants have been indicted for

conspiracy to distribute methamphetamine, cocaine, and marijuana. (Doc.

No. 62.) And the rest of the counts charged in the Indictment arise from the

same transactions or series of incidents constituting a crime. (Id.) Under these

circumstances, the general rule in the federal system is that the co-conspirators

should be tried together. See Fed. R. Crim. P. 8(b).

      This Court may grant severance if it appears that a defendant is prejudiced

by a joinder of defendants at trial. Fed. R. Crim. P. 14. As noted above,

severance is warranted only “if there is a serious risk that a joint trial would

compromise a specific trial right of one of the defendants, or prevent the jury from

making a reliable judgment about guilt or innocence.” Zafiro, 506 U.S. at 539.

Here, Defendant has not shown that severance of co-defendants is necessary

                                           4
     CASE 0:10-cr-00339-PJS-ECW         Doc. 261    Filed 06/09/11   Page 5 of 6




either to avoid a risk of compromising any specific trial right to which he is

entitled, or to prevent the jury from making an unreliable judgment as to his guilt

or innocence.

      While Defendant Rosales generally contends that severance from his co-

defendants is warranted because evidence admissible against his Co-

Defendants would be inadmissible against him, he makes no particularized

showing of how the evidence would prejudice him. See United States v. Finn,

919 F. Supp. 1305, 1323–24 (D. Minn. 1995) (stating that to prevail under Rule

14, Defendants “must each make a showing of real prejudice to themselves

individually”). Without such a showing, this Court declines to grant a severance.

Even if he can make some showing of “spillover effect,” he is not entitled to

severance “simply because evidence may be admissible as to [a co-defendant]

but not as to him.” United States v. Helmel, 769 F.2d 1306, 1322 (8th Cir. 1985).

The values of justice and efficiency gained by joint trials cannot be overcome

without a more exacting showing by Defendant Rosales.

      As noted above, Defendant has not proffered any facts in support of his

conclusory allegation that his alleged involvement with Co-Defendant Perez was

a separate alleged conspiracy from the conspiracy alleged in the Superseding

Indictment. And Defendant Rosales’s argument that severance is warranted

because he would like more time to prepare for trial is not a legitimate basis for

severance but instead raises issues more appropriately addressed on a motion

to extend or continue the trial date. In sum, because Defendant has not

                                          5
     CASE 0:10-cr-00339-PJS-ECW        Doc. 261    Filed 06/09/11   Page 6 of 6




demonstrated any particularized threats of prejudice or potential violations of trial

rights, this Court recommends that severance be denied.

                               RECOMMENDATION

      Based on the files, records, and proceedings herein,

      IT IS HEREBY RECOMMENDED that:

      1.     Defendant Cruz Rosales’s Motion to Sever Defendant Rosales (Doc.

No. 199), be DENIED.

Date: June 9, 2011
                                               s/Jeffrey J. Keyes
                                              JEFFREY J. KEYES
                                              United States Magistrate Judge


Under D. Minn. LR 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by
June 16, 2011, a writing which specifically identifies those portions of this Report
to which objections are made and the basis of those objections. Failure to
comply with this procedure may operate as a forfeiture of the objecting party’s
right to seek review in the Court of Appeals. A party may respond to the
objecting party’s brief within seven days after service thereof. All briefs filed
under this rule shall be limited to 3500 words. A judge shall make a de novo
determination of those portions of the Report to which objection is made. This
Report and Recommendation does not constitute an order or judgment of the
District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.

Unless the parties stipulate that the District Court is not required by 28 U.S.C.
§ 636 to review a transcript of the hearing in order to resolve all objections made
to this Report and Recommendation, the party making the objections shall timely
order and file a complete transcript of the hearing within ten days of receipt of
the Report.




                                          6
